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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL


 Case No.:          CV 17-07408 AB (AGRx)                            Date:   November 1, 2018


 Title:         Luke Delgadillo Garcia v. Miller Castings, Inc.


 Present: The Honorable            ANDRÉ BIROTTE JR., United States District Judge

                     Carla Badirian                                       N/A
                     Deputy Clerk                                    Court Reporter

       Attorney(s) Present for Plaintiff(s):              Attorney(s) Present for Defendant(s):
                     None Appearing                                 None Appearing

 Proceedings:              [In Chambers] ORDER GRANTING MOTION TO ENTER
                           CONSENT DECREE

       Before the Court is Plaintiff Luke Delgadillo Garcia’s (“Plaintiff”) Motion to Enter
Consent Decree (Dkt. No. 17). The United States intervened and filed an opposition, and
Plaintiff filed a reply. For the following reasons, the Court GRANTS the Motion.

  I.     FACTUAL AND PROCEDURAL BACKGROUND

       Defendant operates two industrial metal casting facilities (“Facilities”) in Whittier,
California. Smith Decl. ¶ 2. Defendant obtained National Pollutant Discharge Elimination
System (“NPDES”) General Permits that required it to test stormwater discharges from
the Facilities for a number of pollutants. Compl. ¶ 19. Plaintiff determined that Defendant
failed to test for any pollutants from 2011-2013, and when Defendant did test in the
2014-2015 and 2015-2016 reporting periods, its stormwater discharges contained
impermissibly high levels of Iron, Zinc, Aluminum, and TSS. Id. ¶¶ 77-78. Plaintiff
contends that Defendant’s discharge of polluted stormwater resulted from its failure to
develop and implement an adequate Stormwater Pollution Prevention Plan (“SWPPP”),
failure to implement best management practices (“BMPs”) that achieve best available

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technology economically achievable (“BAT”) or best conventional pollutant control
technology (“BCT”), and failure to develop and implement adequate Monitoring and
Reporting Plans (“M&RPs”). See Complaint generally. On August 19, 2016, Plaintiff
served a Notice of Violation and Intent to File Suit (the “NOV”) on Defendant and on the
requisite federal and California state agencies. See Compl. ¶ 5, Ex. 1. The NOV asserted
that Defendant violated its NPDES Permit and the Clean Water Act (“CWA”) by (1)
discharging storm water without best management practices in place to ensure
concentrations of pollutants below the level commensurate with the application of “best
available technology economically achievable” (“BAT”) or “best conventional pollutant
control technology” (“BDT”) ; (2) discharging storm water in a manner that impairs
receiving waters; (3) failing to develop and implement an adequate storm water pollution
prevention plan; (4) failing to develop and implement an adequate monitoring; and (5)
discharging storm water without authorization of a permit. NOV pp. 4–8.

       On October 17, 2017, Plaintiff filed this action, alleging the same violations as
those identified in the NOV. On January 9, 2018, Plaintiff field a Notice of Tentative
Settlement indicating that the Consent Decree was subject to federal agency review. See
Dkt. No. 9. On May 18, 2018, the United States filed a Notice of Concern asking that the
Court require Plaintiff to file a motion to enter the Consent Decree. The Court granted
that request and set a briefing schedule. The present Motion for Approval followed.

II.      LEGAL STANDARD

       Consent decrees are hybrids of private settlement agreements and public
judgements. Sierra Club, Inc. v. Electronic Controls Design, Inc., 909 F.2d 1350, 1355
(9th Cir. 1990). In light of this hybrid quality, “a district court should enter a proposed
consent [decree] if the court decides that it is fair, reasonable and equitable and
does not violate the law or public policy.” Id. (citing Citizens for a Better Environment v.
Gorsuch, 718 F.2d 1117, 1125-26 (D.C. Cir. 1983). That is, “the focus of the court’s
attention in assessing the agreement should be the purposes which the statute is intended
to serve, rather than the interests of each party to the settlement.” Citizens for a Better
Environment, 718 F.2d at 1125. Hence, “[a]s long as the consent decree comes ‘within
the general scope of the case made by the pleadings,’ furthers ‘the objectives upon which
the law is based,’ and does not ‘violate the statute upon which the complaint was based,’
the parties’ agreement may be entered by the court.” Sierra Club, 909 F.2d at 1355
(quoting Local No. 93, Int’l Ass’n of Firefighters, AFL-CIO v. City of Cleveland, 478
U.S. 501, 525-26 (1986)). Thus, a federal court may enter a consent decree that provides
broader relief than the Court could have awarded after trial. Id.

      However, “a consent decree that affects the public interest or third parties imposes
a heightened responsibility on the court to protect those interests.” United States v. State
of Oregon, 913 F.2d 576, 581 (9th Cir. 1990). Consent decrees purporting to enforce the
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Clean Water Act (“CWA”) affect the public interest. To fulfill the public interest
objectives of the CWA, a consent decree must actually further public environmental
preservation. Courts should be skeptical of agreements which award plaintiffs and their
counsel fees or other private gain but lack substantial injunctive relief or enforcement
mechanisms. See Staton v. Boeing Co., 327 F.3d 938, 952–53 (9th Cir. 2003).

III.     DISCUSSION

         The Consent Decree here merits approval.

       First, the Consent Decree furthers the goals of the CWA and does not violate the
law or public policy. The CWA was enacted “to restore and maintain the chemical,
physical, and biological integrity of the Nation’s waters” by reducing the discharge of
pollutants into those waters. 33 U.S.C. § 1251(a); see Gwaltney of Smithfield, Ltd. v.
Chesapeake Bay Found., Inc., 484 U.S. 49, 52 (1987). To achieve this goal, the CWA
generally prohibits discharge of pollutants from a point source to navigable waters unless
authorized by permit. 33 U.S.C. § 1311(a); see Arkansas v. Oklahoma, 503 U.S. 91, 102
(1992). Permit-holders are subject to both state and federal enforcement, and absent
“federal or state enforcement, private citizens may commence civil actions against any
person ‘alleged to be in violation of’ the conditions of either a federal or state NPDES
permit.” Gwaltney of Smithfield, 484 U.S. at 53 (citing 33 U.S.C. §§ 1319, 1342(b)(7),
1365(a)(1)).

       The Consent Decree here includes injunctive relief that furthers the goals of the
CWA and environmental preservation. See Consent Decree (Smith Decl. Ex. 1) pp. 5-19.
For example, the Consent Decree requires Defendant to implement numerous best
management practices (“BMP”) that are designed and intended to reduce the pollutants in
the Defendant’s stormwater discharges. The Consent Decree also adds another sampling
location, and have included additional potential pollutants (nickel and lead) for future
analysis. The Consent Decree also provides for Plaintiff’s experts to monitor the facilities
over the next three years to ensure compliance. Thus, the Consent Decree includes
injunctive relief that will reduce the pollution loads in Defendant’s stormwater runoff,
which furthers the goals of the CWA.

       The Government proffers a number of objections, but they lack merit. First, the
Government contends that the Complaint does not allege enforceable permit
requirements. But, this in itself is not a reason to reject the Consent Decree because “[a]s
long as the consent decree comes ‘within the general scope of the case made by the
pleadings,’ furthers ‘the objectives upon which the law is based,’ and does not ‘violate
the statute upon which the complaint was based,’ the parties’ agreement may be entered
by the court.” Sierra Club, 909 F.2d at 1355 (citation omitted). Certainly reducing
stormwater pollution furthers the objectives of the CWA. The Government also argues
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that the Consent Decree includes a confusing “Action Plan” provision and that the
agreement should be revised. But the parties know what they negotiated and a potentially
confusing term is not grounds for rejecting the Consent Decree or requiring the parties to
re-draft it. Finally, the Government faults Plaintiff’s counsel for having filed numerous
CWA citizen enforcement actions, but the CWA itself authorizes such suits. The Court
therefore overrules the Government’s objections to the substantive terms of the Consent
Decree.

       The remainder of the Government’s arguments challenge Plaintiff’s counsel’s fee
award on the ground that Plaintiff’s claims are weak, and their hours and rates are
inflated. The Consent Decree provides for $40,000 in past fees and costs, and $5,000 for
future fees and monitoring costs. Plaintiff estimates that the past and future costs will
total $16,762,50, so the total attorneys’ fees that counsel will recover will be $28.237.50.
Plaintiff has already incurred a lodestar of $67,965.50, and anticipates another $25,000 in
future fees, for a total of $92,965.50. Thus, the $28,237.50 agreed upon in the Consent
Decree is only about 30% of the claimed lodestar.

       In any event, because the Court is not deciding an attorneys’ fees motion, the Court
need not finally resolve disputes over hours, rates, and lodestar calculations and
adjustments. Cf. Staton, 327 F.3d at 945 (“[T]o obtain fees justified on a common fund
basis, the class’s lawyers must ordinarily petition the court for an award of fees, separate
from and subsequent to settlement.”). Rather, the Court is determining whether the
Consent Decree as a whole satisfies the standard set forth above. The Consent Decree
provides significant environmental benefits, and the Court finds the $45,000 fee and cost
award reasonable, in proportion to the relief achieved, and consistent with public policy.

IV.      CONCLUSION

     For the foregoing reasons, the Court GRANTS Plaintiff’s Motion to Enter Consent
Decree. Within 7 days of the issuance of this Order, Plaintiff shall email the Courtroom
Deputy Clerk a Word file of the Consent Decree in final form for the Court’s signature.

         IT IS SO ORDERED.




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